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Official Form 417A (12/23) is Bat Prey naa
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WESTERN DISTRICT OF Mc

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[Caption as in Form 416A, 416B, or 416D, as appropriate]
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NOTICE OF APPEAL AND STATEMENT OF ELECTION 7

\

Part 1: Identify the appellant(s)

1. Name(s) of appellant(s):
YOu Nv Y MiaRcAnre

2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of this

appeal:
For appeals in an adversary proceeding. For appeals in a bankruptcy case and not in an
O Plaintift adversary proceeding.
O) Defendant UO Debtor
C) Other (describe) Creditor

U Trustee
O) Other (describe)

Part 2: Identify the subject of this appeal

1. Describe the judgment—or the appealable order or decree—from which the appeal is taken:
Denial of Pel-lhon

2. State the date on which the judgment—or the appealable order or decree—was entered:

4 13 , 20am

Part 3: Identify the other parties to the appeal

List the names of all parties to the judgment—or the appealable order or decree—from which the appeal is
taken and the names, addresses, and telephone numbers of their attorneys (attach additional pages if

necessary): SEE Avie ched
1. Party: Pawns Cottuatd nidtattomey:

2. Party: US. Gern Kn phe Attorney:

Cou rds

Official Form 417A Notice of Appeal and Statement of Election page 1
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Part 4: Optional election to have appeal heard by District Court (applicable only in
certain districts)

if a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate Panel will
hear this appeal unless, pursuant fo 28 U.S.C. § 158(c}(1}, a party elects to have the appeal heard by the
United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
United States District Court, check below. Do not check the box if the appellant wishes the Bankruptcy
Appellate Panel to hear the appeal.

QO Appellant(s) elect to have the appeal heard by the United States District Court rather than by
the Bankruptcy Appellate Panel.

Part 5: Sign below

Vertu} Abr Date: OF] 201 ZY

Signature of attorhey fér appellafit(s) (or appellant(s}
if not represented by an attorney)

Name, address, and telephone number of attorney
(or appellant(s) if not represented by an attorney):

Fee waiver notice: If appellant is a child support creditor or its representative and appellant has filed the
form specified in § 304(g) of the Bankruptcy Reform Act of 1994, no fee is required.

[Note to inmate filers: If you are an inmate filer in an institution and you seek the timing benefit of Fed.
R. Bankr. P. 8002(c}(1), complete Director's Form 4170 (Declaration of Inmate Filing) and file that
declaration along with the Notice of Appeal]

Official Form 417A Notice of Appeai and Statemen? of Election page 2
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Johnny Marcano

2525 Lassen Bay Place
Charlotte, North Carolina 28215
9802000376
Johnnymarcan32@gmail.com
05/20/24

United States Bankruptcy Court For The Western District of North Carolina Charlotte
Division

401 West Trade Street, Suite 2500, Charlotte, North Carolina 28202
Re: Appeal of Case number 24-30108, Chapter 7
Dear Honorable Whitley:
|, Marcano; Johnny, hereby submit this appeal to the honorable Bankruptcy Court

regarding the decision rendered in Case number 24-30108 on May 13, 2024..

| respectfully request the court consider this appeal on the following grounds
that | am functioning in the capacity as the Legal Representative on behalf of JOHNNY
MARCANCO. A legal Representative, even though not a licensed attorney, still has a
Fiduciary Duty to his client, which entitles the Legal Representative to Attorney fees
under “General Statute 6-21.6" to the prevailing party. | am requesting for all parties
named in within the Bankruptcy to pay the attorney fees, as | have submitted a detailed

account of all the work and time dedicated to the Estate JOHNNY MARCANO. | am also
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submitting a copy of IRS Form 56, and the Trust Certificate that places the Estate under
the Trust in which Johnny Marcano is the Grantor, Primary Trustee, and the Beneficiary
over the Estate JOHNNY MARCANCO. Along with the trust certificate, | have also
provided a copy of the Last Will and Testament of JOHNNY MARCANO, that has been
filed with the Clerk of Superior Court Mecklenburg County Courthouse 832 E 4th Street
Charlotte, NC 28202. As Legal Representative, | did not receive notice of the deficient
filing until May 14, 2024. The courts did not grant me a reasonable amount of time to
respond to the deficient filing before adverse actin was taken and the petition was
denied on May 13, 2024, one day before | received notice of the deficient filing of May
8, 2024. This is a clear violation of the court process and JOHNNY MARCANCO'’s right to.
Due process. Individuals have a right to due process, which includes notice and an
opportunity to be heard before any adverse action is taken against them. Being denied
before receiving Initial notice raises my concern of due process in the Case 24-30108, |
respectfully request that the court consider the arguments and evidence presented in
this appeal and grant the relief sought. Thank you for your attention to this matter. |

look forward to the court's prompt consideration of this appeal.

5 Y } Manceine } phony For: Je HUN Y MACAO
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Trust Certificate for The Johnny Marcano Estate

The Grantor of The Johnny Marcano Estate is Johnny Marcano. The Primary
Trustee assigned is Johnny Marcano. In the event that Johnny Marcano is unable to be
the Primary Trustee, Milita Precious Marcano will be designated as the Acting Trustee.
The Beneficiaries of The Johnny Marcano Estate are Johnny Marcano, Delilah Patricia
Marcano, Antonia Elena Marcano, and Araelius Omavi Marcano of Charlotte, North
Carolina.

Declaration of Trust:

The Main Intention for establishing The Johnny Marcano Estate is to ensure that
all Accounts and Assets held under the trust are exempt from entering probate, to
maintain control, and to follow all guidelines set within The Johnny Marcano Estate.

The Johnny Marcano Estate was established on April 12, 2024. The governing
Jurisdiction of this Trust is South Dakota

The purpose of the trust is to maintain Asset protection, Manage Assets, Estate
Planning, maintaining privacy, Family Wealth management, Avoiding Probate, and
Achering to guidelines set forth within the Trust.

Trustees:

¢ The Primary Trustee is Johnny Marcano. Contact Information is as follows for the
primary Trustee: 2525 Lassen Bay place Charlotte, North Carolina 28215. The
designated Acting Trustee is Milita Precious Marcano. The contact information for
the Acting trustee is 2525 Lassen Bay Place Charlotte, North Carolina 28215.

* Powers and duties of the trustees are as follows:
Fiduciary Duty
Asset Management
Accounting and Reporting
Communication
Distributions
Legal and Tax Compliance

Duty of Loyalty
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Record-Keeping and Documentation

Prudent Decision-Making

The Limitations or restrictions on trustee powers are:

To follow are guidelines set forth within the trust.
Beneficiaries of the Trust as follows:

Johnny Marcano- Grantor, Primary Trustee, Beneficiary

Delilah Patricia Marcano ~ Daughter

Araelius Omavi Marcano- Son

Antonia Elena Marcano- Daughter

Desc Main

Upon Death of the Grantor, the aforementioned names will be deemed “The
Beneficiaries.” “The Beneficiaries” are also residuary beneficiaries. “The Beneficiaries”

under eighteen are held under their own trust.
Trust Property:
Johnny Marcano Estate- EIN: XX-XXXXXXX

» All assets are managed and distributed by Johnny Marcano.

Signature How | aceon —— Date: é] 7 24

Primary Trustee

pate: | [7 ZH

Signature. AA,

Acting trustee
Om

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Maria Kodevgvez Leonactle Marcarg

Witness #1 Name (Please Print) Witness #2 Name (Please Print)
iggy Mi Sh Ar 18% fill Se OK

Witness #1 Street Address Witness #2 Street Address
belleville A Gelleville, V3

Witness #1 City, State Witness #2 City, State

i

AFFIDAVIT

I, Johnny Marcano, the Testator, sign my name to this instrument this DD day of

Apel , 20 Af , and being first duly sworn, do hereby declare to the undersigned
authority that I sign and execute this instrument as my Last Will and that I sign it willingly (or willingly
direct another to sign for me), that I execute it as my free and voluntary act for the purposes expressed in
the Last Will, and that I am eighteen (18) years of age or older, of sound mind, and under no constraint or

undue influence.

deny ( (ates

Teftator ,

We, Marta Rack ete yee and ben, artls Morcere , the witnesses, sign our names to this
instrument, being first duly sworn, and do hereby declare to the undersigned authority that the Testator
signs and executes this instrument as the Testator's Last Will and that the Testator signs it willingly (or
willingly directs another to sign for the Testator), and that each of us, in the presence and hearing of the
Testator, hereby signs this Last Will as witness to the Testator's signing, and that to the best of our
knowledge the Testator is eighteen (18) years of age or older, of sound mind, and under no constraint or

undue influence.

ha @ wl MEE Ce

Clueg
Witness #1 YL J Witness #2
STATE OF Nesth-Carolina- Mia Jee?

COUNTY OF  filiche-

Subscribed, sworn to and acknowledged before me by Johnny Marcano, the Testator, and subscribed and
sworn to before me by _ / tore fi Haut and dé yal Pigien , witnesses, this i day

of fen! _? 20 a

Mf,

ALF

(Seal Gi f. GE KUSH A PATEL

(Signed) Gi Notary Public, State of New Jarsay
Comm. # 50213600

My Commission Explras 8/28/2028

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cam BO Notice Concerning Fiduciary Relationship

(Rev. Novernber 2022) (Internal Revenue Code Sections 6036 and 6963} OMB No. 1545-0013

Department of the Treasury
Internal Revenue Service

Identification
Name of person for whom you are acting (as shown on the tax return) : Identifying number Decedent's social security no.

JOHNNY NARCANO 746

Address of person for whom you are acting (sumber, street, and room or suite ne)

AS as’ LASSEN GAY Plice Agale

City or town, state, and ZIP code (if a foreign address, see instructions.)

Charlotte »NC ofaisq

Fiduciary’s name

oO h any Ma CCANO

Address of fiduciary (number, street, and room or suite no.)

acac LASSE, BAY Place .
City or town, state, and ZIP code Telephone number (optional)
ChAtLoTTE »NC 272 15- (4¥o) Aoo~ O37
Section A. Authority
1 Authority for fiduciary relationship. Check applicable box:
[4 Court appointment of testate estate (valid will exists)
CL} Court appointment of intestate estate (no valid will exists)
Cc] Court appointment as guardian or conservator
a Fiduciary of intestate estate
a Valid trust instrument and amendments
["] Bankruptcy or assignment for the benefit of creditors
(1) Cther. Describe:

2a If box 1a, 1b, or 1d is checked, enter the date of death: 6°) lag] 2004

b if box 1c, 1e, if, or 1g is checked, enter the date of appointment, taking office, or assignment or transfer of assets:

Go to www.irs.gov/Form5é for instructions and the latest information.

Section B. Nature of Liability and Tax Notices . . . . : .
3. Type of taxes (check all that apply}: [] income [7] Gift HH Estate [[] Generation-skipping transfer  [-] Employment
L] Excise _] Other (describe): _
4 Federal tax form number (check all that apply): aC] 706series b [] 709 e [1] 940 dL] 944, 943, 944
e (1 1040 or1040-SR of Clip4t g(]1120 hh A Other (list): _ESTATE Fons.
5 If your authority as a fiduciary does not cover all years or tax periods, check here... toe ee ee EY
and list the specific years or periods within your authority:

For Paperwork Reduction Act and Privacy Act Notice, see separate instructions, Gat. No, 16375} Form 56 (Rev. #1-2022)

INTERNAL REVENUE SERVICE

Wi - iL ASSISTANCE
CHAMLOTTE, NG 26262

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|FILED & JUDGMENT ENTERED
Steven T. Salata

| May 13 2024 |

Clerk, U.S. Bankruptcy Court
Western District of North Carolina LO s, LA.

J, Craté Whitley

United States Bankruptcy Judge

UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

CHARLOTTE DIVISION
In re: }
)
JOHNNY MARCANO ) Case No. 24-30108
) Chapter 7
Debtor. )
}

ORDER DENYING PRO SE DEBTOR’S APPLICATION FOR ATTORNEY’S FEES

THIS MATTER is before the Court on the pro se Debtor’s Application for
Compensation filed May 7, 2024. The Debtor, who is not a licensed attorney, seeks $260,000 in
attorney’s fees awarded to himself under “General Statute 6-21.6,” which he reports awards
attorney’s fees to the prevailing party of a contract dispute. He rationalizes this recovery because
“lali of the companies named in the Bankruptcy case were all in a contract with JOHNNY
MARCANOJsic] and have all violated the security regulations put in place to protect the
Consumer (G.S.78A-56).” It is unspecified as to which party he is expecting will pay this sum.
Furthermore, the motion did not include a notice of hearing.

The Debtor cannot recover attorney’s fees in his own bankruptcy case. Generally, a pro

se litigant who is not a lawyer is not entitled to attorney’s fees, even under a fee-shifting statute.
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See e.g., Bond v. Blum, 317 F.3d 385, 398-99 (4th Cir. 2003), modified by sub nom Kirtsaeng v.

John Wiley & Sons, Inc, 579 U.S. 1979 (2016); see also In re Shumate, 1991 WL 426462 at *3-4

(W.D. Va. 1991) (finding pro se Debtor could not award himself compensation under 1] U.S.C.
§§ 330:550 due to lack of authorization by Trustee or Court and a lack of benefit to the estate)
aff'd 976 F.2d 727, 1992 WL 245850 (4th Cir. 1992)(unpublished). Even an attorney cannot be
awarded compensation awards from estate funds unless they are “employed by the trustee and

approved by the court.” Lamie v. U.S. Trustee, 540 U.S, 526, 538-39 (2004). Finally, an

application for compensation may only be granted after notice of a hearing or opportunity for
hearing. Local Rule 9013-1. This motion was not properly noticed, the Debtor is not a licensed
attorney, the Debtor has provided no services benefitting the estate, and the Debtor was not
employed or approved by the Trustee and Court. The Debtor has no basis to recover attorney’s
fees. For these reasons, the Debtor’s application for compensation is DENIED.

SO ORDERED.
This Order has been signed electronically. United States Bankruptcy Court

The Judge’s signature and Court’s seal
appear at the top of the Order.
